
PER CURIAM.
Appellant appeals from a judgment and sentence imposed upon him based on a jury verdict finding him guilty of the crimes of burglary of a dwelling and grand larceny.
Only one issue is urged for reversal. Appellant urges that the trial court erred in permitting the owner of the stolen property to testify as to her opinion as to the fair market value of the stolen property as of the date of theft. The trial court’s ruling was correct. Vickers v. State, 303 So.2d 700 (Fla. 1st DCA 1974), cert. den. 315 So.2d 187 (Fla.1975).
AFFIRMED.
MILLS, Acting C. J., and SMITH and MELVIN, JJ., concur.
